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EXHIBI'I` 20

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:o:m_._m_n_xm \>_. _mmm_Em_u

cocm:m_axm \_.s _mmmmEm%

:o:_coEnm
_._2..53
cor_.coEum
cor=mu
co:_coE_Qm
_._o_~=mu
coEcoEum
nwmm__.:m_u
umwm_&m__u
cor:mu

coE:oE_Qm
coEcoEum
:o::mu
co:_..mu
co::mu
co_:coEum
com..=._mu
cor_:oEum

:oEcoE_um
coE:oE_um
coEcoE_um

LLLLU_L|.L|_L|_LLIJ_LLU_U.U_LLLLLLLLIJ_LL_LL.L|.H.LLLLL|_

CDB_.._mu

:o::mu

Ll_

COL:mu H_

co=:mu
:o=:mu

 

co_~:mo
co_§mu
cor:mu

mcnmm:nm

mmmmmmmg§§§§§§§§§§§§§'§§§

m

|Z'D

UEB-S

Em£-m¢

RKH-S

.h§:-§ \ BRIB
S§H-wo \ ~mHD-B
S§H-B

¢mQQ-B

3 wm§= mow£-%
m wage mom£-$
N~BH-S

m$.£-@@

mmm:-@o

§O£-mo

Qm_.::-mo

R@I-mo

HSE‘B \ QSE-B
OQE-S \ ~mo$-~o
§m§-:

wmm£-g

§EH-S

@~RH-QQ \ RRIS
mSE-wQ

HQS-B

m~\.£-mo

BBE@ \ @23-@¢ \ QNGEO

BBH-S \ Y.GEO \ @EB-@@

333
mS£-@Q \ Q~¢£-@o
mQEH-mO \ E§-.B
owm§-mo
@§:-S
E::-S

.A.Wq.m. _m ..§o. ,,.

n

  
 

 

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co_§mu

cor:mu

_._o_::n._.,.__£.v

_._o=m:m_n_xm \>> _mmmE._m_._u
coE:oE_um

ummm_E»E

:o:_coEum

co:_:o_.:_um

CDE:mu
CO_.H_.._mu

_._o_:coEum .

uwmm_:._m_n
Am_._t:w._ mmu:.: umwm__.:w%
coEcoEum

co_z:oEum

:o:_.:oc._um

coEcoE_um uaw mc:o:co_._._
co__§mu

co_:coEum

um$_Em%

c>>ocv_c:

:o==mu

um§_.cm_.u

ummm_Em_u

co::mu

:o£co_._._sm

co:EoEum

:o=mcm_axw \>» _mmm_Em__u
co_~mcm_axw \>> _mmmmEmm_u
nmmm__tm%

:o:_:oc._um

coE:oEum

coz:mu

'-\-§§§E§§§§§§.E§E§E§§§§E§§§§ § §§E§§§§

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mmm:-wo
Hmm§-mo \ E§H-mo
Om~:-B

E§H-B

EHD-B

: §§ mow£-B
@§£-3 \ §EH-S

mmm£-@@ \ §~3-@@ \ NEB-@O

mmmm#mo

Em£-mo

QSE-B

Q~E-§

G~B-§ \ m-£-§
SEH-E \ SOB-E
Rm§-mo

E§wmo

. mom§-mo

mmm$-§ \ mms:-mo
S¢E-mo

wom§-~@

m¢mE-S

2253

mmm$-~@

S~..E-S

mF.mH-B \ SHQ-S
:OE-@Q

§m:-wo

w:§-mo

M§:-B

§.£-B

£m.£-@o

mo§-§

owm$-:

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2350 u__n:_.._

2323 u__n§

2323 u__n_:n_

2323 u=n_._n_

U:ESME 02

EmE232 3 win uwww_EmE
cozmcmmmm: 2 25 uwmm_Emmo
2323 u__p_._n_

:ozmcm_mm: 2 man uwmm_.EmE
£mmn 2 26 uwmmmEmE

>3 oz éomm:mam:m m.\_EoE m
>ma oz `w>m_u md :o_.."cmam:m

m>mu cm >ma o: um_u._._wam:m
m£_._oE m >mn_ oz uwccmam:m
mmc:._ £=s seriome 5a oh >Q cwmm_EmE
>mq cc EEQE m uwc_._mn_m=m
um>oE$_

uw>oEwm

EQE2:2 u_o wm:muwn ummm_Em_.n_
>ma cc :£v.cmn_m_._m >mu om _2:§3 u=p:n_
23ch u__p:n_

2323 u=a:n_

2350 253

immu 3 25 ummm_Em_n_
Eme._:w._ ..<n uwmo_u

coEcoE_Qm

:ozmcm_n_xm \>> 320me

COE:mu

coE:oEum

co_.::oEum

coz:mo

:o_u.mcm_qu \_.s _mmm_Em=...

CO_.H:mu

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§§§§§§§§§mmmmmmmmmmmmm§§§§§§§z§§§§

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m:mm-mo
¢mmh._u-mo
._»mw:-wo

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c0._0=0_._ .m 2221

